                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT,                    )
JEREMY KEEL, HOLLEE ELLIS, and                  )
FRANCES HARVEY on behalf of                     )
themselves and all others similarly situated,   )
                                                )
               Plaintiffs,                      )
                                                )
       v.
                                                )   Case No. 4:19-CV-00332-SRB
NATIONAL ASSOCIATION OF                         )
REALTORS, REALOGY HOLDINGS                      )   Honorable Judge Bough
CORP., HOMESERVICES OF AMERICA,                 )
INC., BHH AFFILIATES, LLC, HSF                  )
AFFILIATES, LLC, RE/MAX LLC, and                )
KELLER WILLIAMS REALTY, INC.,                   )
                                                )
               Defendants.                      )




  SUGGESTIONS IN SUPPORT OF DEFENDANTS’ MOTION TO COMPLETE THE
                             RECORD




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       Defendants the National Association of REALTORS®, HomeServices of America, Inc.,

BHH Affiliates, LLC, HSF Affiliates, LLC, and Keller Williams Realty, Inc. (collectively,

“Defendants”) offer these suggestions in support of the motion to complete the trial record. In

order to ensure a complete record for appeal, Defendants request that the Court direct all parties to

submit for the record all deposition clips and demonstratives presented to a witness or the jury at

trial. Specifically, Defendants seek an order directing all parties to file to the docket the items

listed in Appendix A, appended hereto.1

       Parties are entitled to a record that “truly discloses what occurred in the district court.”

Fed. R. App. P. 10(e)(1); see also id. 10(e)(2) (district courts may supplement the record when

“anything material to either party is omitted from . . . the record”). “Rule 10(e) provides a

mechanism for ensuring that the record reflects accurately what transpired in the district court.”

Hatco Corp. v. W.R. Grace & Co., 859 F. Supp. 769, 772 (D.N.J. 1994) (granting motion to

supplement the record). The district court is invested with broad discretion under both Rule 10(e)

and its inherent authority to supplement the record to ensure it is complete and accurate. Dietz v.

Bouldin, 579 U.S. 40, 47 (2016) (collecting cases holding that “district courts have the inherent

authority to manage their dockets”); Dupre v. Fru-Con Eng’ring Inc., 112 F.3d 329, 334 n.3 (8th

Cir. 1997) (counsel seeking to modify record to more accurately reflect proceedings in district

court should file motion under Federal Rule of Appellate Procedure 10(e)).

       Included in the district court’s authority is the power to require parties to file on the docket

any materials presented to a fact-finder, including demonstratives and impeachment clips, to


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  In an attempt to avoid burdening the Court with additional motions, on December 29, 2023,
Defendants requested that Plaintiffs “agree [that] all parties will file any visual presentations
(slides, videos, etc) they showed to the jury by COB on 1/4” that were “part of the record and have
not been filed.” See Ex. A (Email correspondence between E. Glass and M. Ketchmark). Plaintiffs
refused and further declined to provide any basis for their opposition.


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ensure a complete record for appellate review. See Sadler v. Advanced Bionics, LLC, No. 3:11-

CV-00450, ECF 309 (W.D. Ky. June 25, 2013) (granting motion “to require the parties to file for

the record any and all demonstratives” including “Plaintiffs’ PowerPoint slides, including

animation, which Plaintiffs presented during the trial, opening statement, and closing argument”

as “necessary for the record for appellate review”); Wrice v. Byrne, 488 F. Supp. 3d 646, 679 (N.D.

Ill. 2020) (granting motion to compel and ordering defendant plaintiff “to file closing

demonstrative exhibit” because “it would likely serve the appellate court best to have a fuller

record of the trial”); United States v. Cadden, 2017 U.S. Dist. LEXIS 74298, at *2–3 (D. Mass.

May 16, 2017) (ordering inclusion of party’s “PowerPoint presentation in the record of the trial

for purposes of appeal”); Glossip v. Workman, 2010 WL 2196110, at *4 (W.D. Okla. May 26,

2010) (same); see also 20 Moore’s Federal Practice - Civil § 310.10 (“[E]vidence that was actually

presented to the fact finder, even though it was not technically placed into evidence or suffers from

some other technical flaw, may have contributed to the district court’s decision and should be

considered part of the record.”).

       The materials requested here are necessary for appellate review. Among the audio and

visual materials included in Appendix A is the Ambush Video clip played by Plaintiffs’ counsel.

This Ambush Video is the subject of both Defendants’ motion for a mistrial based on attorney

misconduct, ECF 1265 at 6-10, and motion for new trial for attorney misconduct, ECF 1362 at 27-

28. Also included are materials played during Plaintiffs’ opening and closing presentations, which

are the subject of Defendant Keller Williams’ motion for new trial (incorporated by reference by

NAR and the HomeServices Defendants).2 See ECF 1352 at 6-7 & n.5. While this Court was able


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  Defendants note that during certain deposition clips, Plaintiffs improperly published to the jury
exhibits that were being discussed in the deposition video but that were never admitted by the
Court at trial. Nevertheless, Defendants do not intend to challenge this inappropriate conduct post-
trial or on appeal. As such, to limit the complexity of this motion, Defendants do not believe it is


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to view these materials in person during trial, the appellate court will not have had such access. In

the event this Court does not grant Defendants’ post-trial motions, Defendants are entitled to make

their case with a complete record to demonstrate both the existence of attorney misconduct and the

Defendants’ asserted evidentiary errors as well as their impact and prejudice.

       Critically, Defendants seek to complete the record only with those materials that were

presented to a witness or the jury at trial. Defendants do not seek to add anything to the record

that has not already been considered by the jury and by this Court. While not likely necessary for

any appeal, Defendants have also included in Appendix A all visual and audio materials offered

by Defendants at trial in an effort to ensure a fair and complete record.

       In conclusion, Defendants respectfully request that the Court order all parties to file copies

of visual materials and transcripts of all audio materials presented to a witness or the jury during

trial, as indicated on Appendix A, to the docket within 14 days of the Court’s order granting this

Motion.




necessary to request that these non-admitted exhibits be added to the record.


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Dated: January 26, 2024                    Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

       I hereby certify that on this January 26, 2024, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing

to counsel of record for this case.




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                                             Appendix A

Plaintiffs’ Audio and Visual Material

   10/17/2023 Trial Tr. 13:22-80:11: Plaintiffs’ Opening PowerPoint Presentation

   10/17/2023 Trial Tr. 33:25-34:6: Robert Goldberg deposition video clip played by Plaintiffs in opening
    concerning NAR antitrust compliance guide

   10/17/2023 Trial Tr. 37:20-25: Family Reunion/Gary Keller video clip played by Plaintiffs in opening

   10/17/2023 Trial Tr. 38:5-36:1: Gary Keller deposition clip played by Plaintiffs in opening (“He said,
    We're not talking about commissions because, if we were, we'd be talking about sellers and buyers.”)

   10/17/2023 Trial Tr. 39:15-22: Darrell King deposition clip played by Plaintiffs in opening concerning
    Family Reunion and compliance manual

   10/17/2023 Trial Tr. 40:19-41:12: Three separate Gary Keller deposition clips played by Plaintiffs in
    opening, the first about “talk in concepts” email and the second and third about Gary’s books

   10/17/2023 Trial Tr. 42:16-43:9: Two separate Gino Blefari deposition clips played by Plaintiffs in
    opening concerning training material and “it only goes up” from 6%

   10/17/2023 Trial Tr. 43:24-44:3: Two separate Nick Bailey deposition clips played by Plaintiffs in
    opening about companies benefitting on either side of the transaction

   10/17/2023 Trial Tr. 44:4-18: Ryan Gorman deposition clip played by Plaintiffs during opening about
    Realogy’s antitrust policy

   10/17/2023 Trial Tr. 47:8-18: Gary Keller deposition clip played by Plaintiffs during opening
    concerning steering

   10/17/2023 Trial Tr. 48:6-8: Michelle Figgs deposition clip played by Plaintiffs during opening
    concerning her notes

   10/17/2023 Trial Tr. 48:17-49:2: Gary Keller deposition clip played by Plaintiffs during opening
    concerning training materials

   10/17/2023 Trial Tr. 55:1-4: HomeServices training video clip played by Plaintiffs during opening

   10/17/2023 Trial Tr. 56:5-19: Separate deposition clips played of Robert Goldberg, Gary Keller, and
    Gino Blefari played by Plaintiffs during opening all concerning their companies following the
    cooperative compensation rule

   10/17/2023 Trial Tr. 69:24-70:6: Kevin Goffstein deposition clip played by Plaintiffs during opening
    concerning HomeServices franchise policy




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   10/17/2023 Trial Tr. 72:16-18: Rosalie Warner deposition clip played by Plaintiffs during opening
    concerning ReeceNichols policy

   10/17/2023 Trial Tr. 73:1-4: Mike Frazier deposition clip played by Plaintiffs during opening
    concerning St. Louis franchise policy

   10/24/2023 Trial Tr. 1135:5-1137:17: Exhibit PX-4562 introduced by Plaintiffs as impeachment during
    Bob Goldberg cross examination

   10/24/2023 Trial Tr. 1137:25-1139:13: Exhibit PX-4565 introduced by Plaintiffs as impeachment during
    Bob Goldberg’s cross examination

   10/24/2023 Trial Tr. 1263:4-20: Rodney Gansho deposition clip played by Plaintiffs as impeachment
    during his cross examination concerning NAR affiliated MLSs (starting with 43:13)

   10/24/2023 Trial Tr. 1282:1-1284:16: Exhibit PX-4609 (Inman Article) introduced by Plaintiffs as
    impeachment during Rodney Gansho’s cross examination

   10/24/2023 Trial Tr. 1349:8-23: Allan Dalton podcast clip played by Plaintiffs as impeachment during
    Ron Peltier’s cross examination, referred to by Plaintiffs as PX-4604

   10/25/2023 Trial Tr. 1630:1-17: Mike Frazier deposition clip played by Plaintiffs during his cross
    examination concerning whether buyers would compensate buyers’ agents without the cooperative
    compensation rule

   10/25/2023 Trial Tr. 1637:7-17: Three Mike Frazier deposition clips played by Plaintiffs during his
    cross examination concerning whether buyers will sign buyer agency agreements without the rule (two
    of three clips identified, 102:25 and 104:21)

   10/25/2023 Trial Tr. 1688:10-1689:1: Krista Wilson deposition clip played by Plaintiffs during her cross
    examination concerning if every buyer agreement has a clause that the buyer will pay the fee if it is not
    covered by the MLS

   10/27/2023 Trial Tr. 2046:3-14: Gary Keller deposition clip played by Plaintiffs during his cross
    examination as impeachment concerning if NAR makes rules and enforces them when they get together
    and meet

   10/27/2023 Trial Tr. 2047:9-17: Gary Keller deposition clip played by Plaintiffs during his cross
    examination as impeachment concerning if KW requires its sales agents to join NAR

   10/27/2023 Trial Tr. 2077:5-13: Gary Keller deposition clip played by Plaintiffs during his cross
    examination as impeachment concerning the “talk in concepts” email

   10/27/2023 Trial Tr. 2081:24-2082:8: Gary Keller deposition clip played by Plaintiffs during his cross
    examination as impeachment concerning whether agents can discuss commissions

   10/27/2023 Trial Tr. 2082:18-20: Gary Keller deposition clip played by Plaintiffs during his cross
    examination as impeachment concerning whether Keller can talk about commissions



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   10/30/2023 Trial. Tr. 2328:19-2390:10: Plaintiffs’ Closing PowerPoint Presentation

   Any remaining physical posterboards or pages from easel writing pads used during trial, as referenced at
    10/25/2023 Trial Tr. at 1410:14-20.

Defendants’ Audio and Visual Material

   10/17/2023 Trial Tr. 81:2-110:16: NAR’s Opening PowerPoint Presentation

   10/17/2023 Trial Tr. 115:3-148:19: HSA’s Opening PowerPoint Presentation

   10/17/2023 Trial Tr. 149:18-172:23: Keller William’s Opening PowerPoint Presentation

   10/17/2023 Trial Tr. 135:5-20: Gino Blefari deposition clip played by HSA during opening to give full
    context to Blefari’s behavior as a sales agent

   10/17/2023 Trial Tr. 135:21-136:1: Gino Blefari deposition clip played by HSA during opening to give
    full context to Blefari’s statements during a lecture on elevating confidence

   10/19/2023 Trial Tr. 573:14-574:10: Craig Schulman deposition clip played by NAR as impeachment
    during Schulman’s cross on the topic of him not seeing defendants discussing commission amounts with
    one another (no page and line provided)

   10/20/2023 Trial Tr. 635:23-636:18: Craig Schulman deposition clip played by NAR as impeachment
    during Schulman’s cross on the topic of incentives to offer compensation without the Rule (33:11-25
    from Schulman deposition)

   10/20/2023 Trial Tr. 678:12-679:5: Craig Schulman deposition clip played by NAR as impeachment
    during Schulman’s cross on the topic of all economic predications being speculative (116:22-117:5)

   10/20/2023 Trial Tr. 778:6-14: Alford deposition clip played by NAR as impeachment during cross
    examination (351:25-352:11)

   10/23/2023 Trial Tr. 874:20-22: Audio clip played by HSA of Mr. McCreight’s argument to the 8th
    Circuit regarding HSA arbitration agreement issue

   10/27/2023 Trial Tr. 1994:6-14: Portion of DX-3680, the 2016 Vision Speech, played by KW during
    Gary Keller’s direct examination

   10/30/2023 Trial Tr. 2390:19-2420:10: NAR’s Closing PowerPoint Presentation

   10/30/2023 Trial Tr. 2420:20-2462:6: HSA’s Closing PowerPoint Presentation

   10/30/2023 Trial Tr. 2464:14-2492:12: Keller William’s Closing PowerPoint Presentation




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